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                             IN THE UNITED         STATES DISTRICT COURT

                             FOR THE    SOUTHERN DISTRICT OF GEORGIA

                                           AUGUSTA DIVISION




UNITED STATES       OF AMERICA



               v.                                                      CR   110-135



AUGUSTIN SANTANA CRUZ




                                                  ORDER




       Defendant      Augustin      Santana Cruz         has   filed a      motion    for    reduction of

sentence under 18 U.S.C.            § 3582(c)(2)      on the basis that Amendment 782 to the

United States Sentencing Guidelines has revised the guidelines applicable to

drug trafficking offenses.1                Even though Amendment 782 became effective on

November      1,    2014,    no    defendant       may    be   released       on   the      basis   of    the

retroactive        amendment      before   November      1,    2015.     See   U.S.S.G.       Amend.     788.

Thus, the Court will undertake a review of cases involving drug trafficking

offenses in due course.             If Defendant is entitled to a              sentence reduction as

a result of amendments to the United States Sentencing Guidelines, the Court

will   make    such a       reduction      sua    sponte.       Accordingly,       Defendant's      motion

(doc. 273)     is DEFERRED,1

       ORDER ENTERED at Augusta, Georgia, this                    //^ day of March, 2015.



                                                 HONORABLE [J. RANDAL HALL
                                                 UNITEP STATES DISTRICT JUDGE
                                                     1ERN DISTRICT       OF   GEORGIA




      Defendant additionally seeks appointment of counsel. Because the Court will
address Defendant's request sua sponte, his request for appointment of counsel is
DENIED at this time.


1      The Clerk is directed to terminate the motion for administrative purposes.
